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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA et al.,
Plaintiffs,
Vv.

DEUTSCHE TELEKOM AG, T-MOBILE
US, INC., SOFTBANK GROUP CORP.,
SPRINT CORPORATION, and DISH
NETWORK CORPORATION, CaseNo. [9+ ev- 2232

Defendants.

 

Filed:

 

PROPOSED] FINAL JUDGMENT

WHEREAS, Plaintiffs, United States of America and the States of Kansas, Nebraska,
Ohio, Oklahoma, and South Dakota (“Plaintiff States”), filed their Complaint on July 26, 2019,
the Plaintiffs and Defendants Deutsche Telekom AG, T-Mobile US, Inc., SoftBank Group Corp.,
and Sprint Corp., by their respective attorneys, have consented to the entry of this Final
Judgment without trial or adjudication of any issue of fact or law, and without this Final
Judgment constituting any evidence against or admission by any party regarding any issue of fact
or law;

AND WHEREAS, pursuant to a Stipulation and Order among Deutsche Telekom AG, T-
Mobile US, Inc., SoftBank Group Corp., Sprint Corp., and DISH Network Corp. (collectively,
“Defendants”) and the United States, the Court has joined DISH Network Corp. as a defendant to

this action for the purposes of settlement and for the entry of this Final Judgment;
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AND WHEREAS, Defendants agree to be bound by the provisions of this Final
Judgment pending its approval by the Court;

AND WHEREAS, the purpose of this Final Judgment is to preserve competition by
enabling the entry of another national facilities-based mobile wireless network operator;

AND WHEREAS, Plaintiffs require Divesting Defendants to make certain divestitures
for the purpose of remedying the loss of competition alleged in the Complaint;

AND WHEREAS, Defendants have represented to Plaintiffs that the divestitures and
other relief required by this Final Judgment can and will be made and carried out, and that
Defendants will not later raise any claim of hardship or difficulty as grounds for asking the Court
to modify any of the provisions contained below;

NOW THEREFORE, before any testimony is taken, without trial or adjudication of any
issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED, AND
DECREED:

I. JURISDICTION

The Court has jurisdiction over the subject matter of and each of the parties to this action.
The Complaint states a claim upon which relief may be granted against Divesting Defendants
and Parent Defendants under Section 7 of the Clayton Act, 15 U.S.C. § 18. Pursuant to the
Stipulation and Order filed simultaneously with this Final Judgment joining DISH as a defendant
to this action, DISH has consented to this Court’s exercise of specific personal jurisdiction over
DISH in this matter solely for the purposes of settlement and for the entry and enforcement of

the Final Judgment.
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Il. DEFINITIONS

As used in this Final Judgment:

A. “Acquiring Defendant” or “Acquirer” or “DISH” mean Defendant DISH Network
Corporation, a Nevada corporation with its headquarters in Englewood, Colorado; its successors
and assigns; and its subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures,
and their directors, officers, managers, agents, and employees.

B. “Assurance Wireless” means the prepaid wireless business conducted by Virgin
Mobile under the Assurance Lifeline brand.

C. “Cell Site” or “Tower Site” mean any wireless communications towers, rooftops,
water towers, or other wireless communications facilities owned or leased by Divesting Defendants
and the physical location and wireless equipment thereto.

D. “Decommissioned” or “Decommissioning” means, with respect to a Cell Site,
when the Cell Site is no longer transmitting on Divesting Defendants’ networks. With respect to
Retail Locations, Decommissioned or Decommissioning means when Divesting Defendants
cease customer service operations.

E. “Deutsche Telekom” means Deutsche Telekom AG, a German corporation
headquartered in Bonn, Germany, that is the controlling shareholder of T-Mobile; its successors
and assigns; and its parents, subsidiaries, divisions, groups, affiliates, partnerships, and joint
ventures, and their directors, officers, managers, agents, and employees.

BE, “Divesting Defendants” means T-Mobile and Sprint.

G. “Divestiture Assets” means the Prepaid Assets, the 800 MHz Spectrum Licenses,

the Decommissioned Retail Locations, and the Decommissioned Cell Sites.
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H. “Fifth Generation Broadband Services” or “5G Services” means at least 3GPP
Release 15, capable of providing enhanced mobile broadband (eMBB) functionality.

I. “Full MVNO Agreement” means an agreement that (1) provides the Acquiring
Defendant the ability to sell retail mobile wireless services as an MVNO using the Divesting
Defendants’ wireless networks, (2) provides Acquiring Defendant the option to deploy its own
core network with all associated service platforms to be offered in combination with services
provided by Divesting Defendants’ wireless networks, and (3) requires Divesting Defendants to
provide network connectivity between Divesting Defendants and Acquiring Defendant’s network
for all traffic.

J. “MVNO” means a mobile virtual network operator, such as TracFone and Google
Fi, that obtains network access from facilities-based providers like T-Mobile and Sprint and
resells that mobile wireless service to consumers under its own brand name.

K. “Parent Defendants” means Deutsche Telekom and SoftBank.

L. “Prepaid Assets” means all tangible and intangible assets primarily used by the
Boost Mobile, Sprint-branded prepaid, and Virgin Mobile businesses today, including but not
limited to Boost and Virgin Mobile Retail Locations, licenses, personnel, facilities, data, and
intellectual property, as well as all relationships and/or contracts with prepaid customers served
by Sprint, Boost Mobile, and Virgin Mobile. Prepaid Assets do not include the Assurance
Wireless business and the prepaid wireless customers of Shenandoah Telecommunications
Company and Swiftel Communications, Inc.

M. “Prepaid Assets Personnel” means all employees whose jobs currently focus on

the support of the Prepaid Assets, or whose jobs have previously focused on supporting the

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Prepaid Assets at any time between January 1, 2016 and the date on which the Prepaid Assets are
divested to the Acquirer. Prepaid Assets Personnel shall include no fewer than 400 current
employees of the Divesting Defendants, which shall include employees involved in sales
management, marketing management, distribution support, sales support, and finance.

N. “Retail Locations” means any retail locations owned or operated by Divesting
Defendants and from which either T-Mobile or Sprint sells mobile wireless service under any of
their affiliated brands, including Sprint, Boost Mobile, Virgin Mobile, T-Mobile, Metro by
T-Mobile, and MetroPCS.

O. “800 MHz Spectrum Licenses” means all of Sprint’s 800 MHz spectrum holdings
as listed and described in Attachment A to this Final Judgment.

P, “600 MHz Spectrum Licenses” means all of DISH’s 600 MHz spectrum holdings
as listed and described in Attachment B to this Final Judgment.

Q. “SoftBank” means SoftBank Group Corp., a Japanese corporation and controlling
shareholder of Sprint; its successors and assigns; and its parents, subsidiaries, divisions, groups,
affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and
employees.

R. “Sprint” means Defendant Sprint Corporation, a Delaware corporation with its
headquarters in Overland Park, Kansas; its successors and assigns; and its subsidiaries, divisions,
groups, affiliates (other than SoftBank), partnerships, and joint ventures, and their directors,
officers, managers, agents, and employees.

S. “T-Mobile” means Defendant T-Mobile US, Inc., a Delaware corporation with its
headquarters in Bellevue, Washington; its successors and assigns; and its subsidiaries, divisions,

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groups, affiliates (other than Deutsche Telekom), partnerships, and joint ventures, and their
directors, officers, managers, agents, and employees.
II. APPLICABILITY

A. This Final Judgment applies to the Divesting Defendants, Parent Defendants, and
Acquiring Defendant, as defined above, and all other persons in active concert or participation
with any of them who receive actual notice of this Final Judgment by personal service or
otherwise.

B. If any of the terms of an agreement between (i) Divesting Defendants and the
Acquiring Defendant to effectuate the divestitures required by the Final Judgment or (ii)
Defendants and the Federal Communications Commission (FCC) to effectuate the divestitures
required by the Final Judgment varies from the terms of this Final Judgment then, to the extent
that Defendants cannot fully comply with both terms due to a conflict between the terms, this
Final Judgment will determine Defendants’ obligations. Provided, however, that if there is an
inconsistency between this Final Judgment and any commitment any of the Defendants have
made to the FCC, the more stringent obligations will control.

IV. DIVESTITURES
A. Prepaid Assets
l. The Divesting Defendants shall take all actions required to enable

Acquiring Defendant to have, within ninety (90) days after notice of the entry of this

Final Judgment by the Court, the ability to provision any new or existing customer of the

Prepaid Assets holding a compatible handset device onto the T-Mobile network pursuant

to the terms of any Full MVNO Agreement. Divesting Defendants are ordered and

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directed, not more than fifteen (15) days after Divesting Defendants can provide
Acquiring Defendant the ability to provision any new or existing customer of the Prepaid
Assets holding a compatible handset device onto the T-Mobile network pursuant to the
terms of any Full MVNO Agreement, or the first business day of the month following the
later of the consummation of the merger of T-Mobile and Sprint and the receipt of any
approvals required for the divestiture of the Prepaid Assets ftom the FCC and any
material state public utility commission, or five (5) calendar days after notice of the entry
of this Final Judgment by the Court, whichever is later, to divest the Prepaid Assets to
Acquiring Defendant in a manner acceptable to the United States, in its sole discretion.
a Employees
a. Within ten (10) business days following the filing of the Complaint
in this matter, Divesting Defendants shall provide to Acquiring Defendant, the
United States, the Plaintiff States, and the Monitoring Trustee, organization charts
covering all Prepaid Assets Personnel for each year from January 1, 2016 to
present. Within ten (10) business days of receiving a request from Acquiring
Defendant, Divesting Defendants shall provide to Acquiring Defendant, the
United States, the Plaintiff States, and the Monitoring Trustee, additional
information related to identified Prepaid Assets Personnel, including name, job
title, reporting relationships, past experience, responsibilities from January 1,
2016 through the date on which the Prepaid Assets are transferred to Acquirer,
training and educational history, relevant certifications, job performance

evaluations, and current salary and benefits information to enable Acquiring

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Defendant to make offers of employment. If Divesting Defendants are barred by
any applicable laws from providing any of this information to Acquiring
Defendant, within ten (10) business days of receiving Acquiring Defendant’s
request, Divesting Defendants will provide the requested information to the
greatest extent possible under applicable laws and also provide a written
explanation of their inability to comply fully with Acquiring Defendant’s request
for information regarding Prepaid Assets Personnel.

b. Upon request, Divesting Defendants shall make Prepaid Assets
Personnel available for interviews with Acquiring Defendant during normal
business hours at a mutually agreeable location. Divesting Defendants will not
interfere with any negotiations by Acquiring Defendant to employ any Prepaid
Assets Personnel. Interference includes but is not limited to offering to increase
the salary or benefits of or offering bonuses to Prepaid Assets Personnel other
than as part of a company-wide increase in salary or benefits or company-wide
provision of bonuses granted in the ordinary course of business. If Divesting
Defendants have offered Prepaid Assets Personnel incentives to remain employed
with Divesting Defendants until a certain date (e.g., retention bonuses), Divesting
Defendants must warrant to those Prepaid Assets Personnel and the Acquiring
Defendant that the Prepaid Assets Personnel will receive all promised incentives
if they accept an offer of employment with the Acquiring Defendant and remain

employed with the Acquiring Defendant until the date contemplated by the
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originally agreed-upon incentive. Divesting Defendants shall be responsible for
reimbursing Acquiring Defendant the costs associated with such incentives.

C. For any Prepaid Assets Personnel who elect employment with
Acquiring Defendant, Divesting Defendants shall waive all non-compete and non-
disclosure agreements, vest all unvested pension and other equity rights, and
provide all benefits to which Prepaid Assets Personnel would be provided if
transferred to a buyer of an ongoing business.

d. For a period of two (2) years from the date of filing of the
Complaint in this matter, Divesting Defendants may not solicit to hire; or hire,
any Prepaid Assets Personnel who was hired by Acquiring Defendant, unless (a)
such individual is terminated or laid off by Acquiring Defendant or (b) Acquiring
Defendant agrees in writing that Divesting Defendants may solicit or hire that
individual.

e, Nothing in this Section prohibits Divesting Defendants from
maintaining any reasonable restrictions on the disclosure by any employee who
accepts an offer of employment with Acquiring Defendant of Divesting
Defendants’ proprietary non-public information that is (a) not otherwise required
to be disclosed by this Final Judgment, (b) related solely to Divesting Defendant’s
businesses and clients, and (c) unrelated to the Divestiture Assets.

f. Acquiring Defendant’s right to hire Prepaid Assets Personnel

pursuant to Paragraph IV(A)(2) and Divesting Defendants’ obligations under
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Paragraphs ]V(A)(2)(a)-(c) lasts for a period of one hundred and eighty (180)

days after the closing of the divestiture of the Prepaid Assets.

3, Divesting Defendants shall warrant to Acquiring Defendant that the
Prepaid Assets will be fully operational on the date of transfer.

4, At the option of Acquiring Defendant, Divesting Defendants shall enter
into one or more transition services agreements to provide billing, customer care, SIM
card procurement, device provisioning, and all other services used by the Prepaid Assets
prior to the date of their transfer to Acquirer for an initial period of up to two (2) years
after the transfer of the Prepaid Assets. During the initial two-year term of the
agreement, Divesting Defendants shall provide the transition services at no greater than
cost to Acquiring Defendant. All other terms and conditions of any such agreement must
be reasonably related to market conditions for the provision of the relevant services and
must be acceptable to the United States in its sole discretion, after consultation with the
affected Plaintiff States. Upon Acquiring Defendant’s request, the United States, in its
sole discretion, after consultation with the affected Plaintiff States, may approve one or
more extensions of such agreement(s) for a total of up to an additional one (1) year.

oF At Acquiring Defendant’s option, on or before the divestiture of the
Prepaid Assets, Divesting Defendants shall assign or otherwise transfer to Acquiring
Defendant all transferable or assignable agreements, or any assignable portions thereof,
related to the Prepaid Assets, including, but not limited to, all supply contracts, licenses,
and collaborations. Divesting Defendants shall use best efforts to expeditiously obtain

from any third parties any consent necessary to transfer or assign to Acquiring Defendant

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all agreements related to the Prepaid Assets. To the extent consent cannot be obtained
and the agreement is not otherwise assignable, Divesting Defendants shall use best efforts
to obtain or provide for Acquiring Defendant, as expeditiously as possible, the full
benefits of any such agreement as it relates to the Prepaid Assets by assisting Acquiring
Defendant to secure a new agreement and by taking any other steps necessary to ensure
that Acquiring Defendant obtains the full benefit of the agreement as it relates to the
Prepaid Assets. Divesting Defendants will not assert, directly or indirectly, any legal
claim that would interfere with Acquiring Defendant’s ability to obtain the full benefit
from any transferred third-party agreement to the same extent enjoyed by Divesting
Defendant prior to the transfer.

6. At Acquiring Defendant’s option, on or before the divestiture of the
Prepaid Assets, Divesting Defendants shall provide contact information and make
introductions to distributors and suppliers that support the Prepaid Assets. Divesting
Defendants shall not interfere with Acquiring Defendant’s attempts to negotiate with
these distributors or suppliers.

B. 800 MHz Spectrum License Transfer

1. Divesting Defendants are ordered and directed, within three (3) years after
the closing of the divestiture of the Prepaid Assets or within five (5) business days of the
approval by the FCC of the transfer of the 800 MHz Spectrum Licenses, whichever is
later, to divest the 800 MHz Spectrum Licenses in a manner acceptable to the United
States, in its sole discretion, after consultation with the affected Plaintiff States. The

United States, in its sole discretion, after consultation with the affected Plaintiff States,

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may agree to one or more extensions of this time period not to exceed sixty (60) calendar
days in total, and will notify the Court in such circumstances. Acquiring Defendant will
make timely application to the FCC for the transfer of the spectrum to comply with this
Paragraph.

a Acquiring Defendant shall pay a penalty of $360,000,000 to the United
States if it elects not to purchase the 800 MHz Spectrum Licenses. The Acquiring
Defendant shall pay the penalty within thirty (30) days of declining to purchase the 800
MHz Spectrum Licenses. Notwithstanding the foregoing, the Acquiring Defendant will
not be required to pay such penalty if it has deployed a core network and offered 5G
Service to at least 20% of the U.S. population over DISH’s facilities-based network
within three (3) years of the closing of the divestiture of the Prepaid Assets.

gy If, at the expiration of this Final Judgment, Acquiring Defendant has
acquired the 800 MHz Spectrum Licenses, but has not deployed all of the 800 MHz
Spectrum Licenses for use in the provision of retail mobile wireless services, Acquiring
Defendant shall forfeit to the FCC, at the United States’ sole discretion, after consultation
with the affected Plaintiff States, all of the 800 MHz Spectrum Licenses that are not
being used to provide retail mobile wireless services, unless Acquiring Defendant already
is providing nationwide retail mobile wireless services over DISH’s facilities-based
network.

4. If the Acquiring Defendant does not purchase the 800 MHz Spectrum
Licenses, Divesting Defendants shall conduct an auction of the 800 MHz Spectrum
Licenses within six (6) months of Acquiring Defendant declining to purchase the

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licenses. In such auction, Divesting Defendants will not divest the 800 MHz Spectrum
Licenses to any other national facilities-based mobile wireless network operator, without
the prior written approval of the United States, in its sole discretion, after consultation
with the affected Plaintiff States, and will not be required to divest the 800 MHz
Spectrum Licenses at a price that is lower than the price the Acquiring Defendant
originally agreed to pay for such licenses. In addition, Divesting Defendants may apply
to the United States to be relieved from the commitment to sell the 800 MHz Spectrum
Licenses if (i) Acquiring Defendant declines to purchase the 800 MHz Spectrum License
and (it) the sale of the 800 MHz Spectrum Licenses is no longer needed fully to remedy
the competitive harms of the merger, as determined by the United States in its sole
discretion, after consultation with the affected Plaintiff States.
C. Decommissioned Cell Sites

lL. Divesting Defendants shall make all Cell Sites Decommissioned by
Divesting Defendants within five (5) years of the closing of the divestiture of the Prepaid
Assets, which shall not be fewer than 20,000 Cell Sites, available to Acquiring Defendant
immediately after such Decommissioning.

2. Divesting Defendants shall provide, no later than the closing of the Prepaid
Assets divestiture, the Acquiring Defendant and Monitoring Trustee with a detailed
schedule identifying, over the next five (5) years: (i) each Cell Site that the Divesting
Defendants plan to Decommission; (ii) the forecasted date for Decommissioning; and
(ili) whether a given Cell Site is freely transferrable. For a period of five (5) years

following the closing of the divestiture of the Prepaid Assets, on the first day of each

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month Divesting Defendants shall submit to the Acquiring Defendant and Monitoring
Trustee updated Cell Site Decommissioning schedules that include a rolling monthly
forecast projected out two hundred and seventy (270) days. All forecasted
Decommissionings within one hundred and eighty (180) days will be binding, subject to
any mandatory restrictions on transfer imposed by federal or state law, unless the
Monitoring Trustee determines that the Decommissioning was changed for good cause,
and the changes and justifications are reported by the Divesting Defendants to the United
States.

oy Divesting Defendants are ordered to pay to the United States, within ninety
(90) days following the end of each fiscal quarter, $50,000 multiplied by the total number
of Cell Sites in excess of two (2) percent of Cell Sites in any 180-day Cell Site forecast:
(a) for which the Acquiring Defendant exercised its option to acquire such Cell Site that
was Decommissioned more than ten (10) days after the date forecasted in the 180-day
Cell Site forecast or (b) that were Decommissioned but did not appear on any 180-day
Cell Site forecast. If Divesting Defendants are incorrect, and have not cured within ten
(10) days, on more than ten (10) percent of Cell Sites in any three 180-day Cell Site
forecasts, the penalty shall increase to $100,000 per incorrect Cell Site for which the
Acquiring Defendant exercised its option to acquire such Cell Site starting on the fourth
180-day Cell Site forecast that is incorrect on at least ten (10) percent of Cell Sites and
continuing at that level for any penalties imposed pursuant to this Paragraph. If
Divesting Defendants demonstrate that there was good cause for the forecast to have been

inaccurate with regard to an individual Cell Site, the United States may, in its sole

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discretion, after consultation with the affected Plaintiff States, waive some or all of the
payments.

4, Divesting Defendants shall assign or transfer any rights that are assignable
or transferrable and are useful for Acquiring Defendant to deploy infrastructure on the
Decommissioned Cell Sites and will waive or terminate any rights Divesting Defendants
may have to impede or prevent Acquiring Defendant from doing so. Where Divesting
Defendants do not have the right to assign or transfer such rights, Divesting Defendants
will cooperate with Acquiring Defendant in its attempt to obtain the rights.

5. Divesting Defendants shall Decommission unnecessary Cell Sites
promptly. Divesting Defendants will vacate a Decommissioned Cell Site as soon as
reasonably possible after the site is no longer in use on any of the Divesting Defendants’
networks. As soon as reasonably possible after making Decommissioned Cell Sites
available to the Acquiring Defendant, Divesting Defendants shall also make any
Decommissioned transport-related equipment (including microwave backhaul gear and
network switches) on such cell sites available for purchase by the Acquiring Defendant.
If the Monitoring Trustee determines that Divesting Defendants have not complied with
this Paragraph, the Monitoring Trustee may recommend and the United States may
impose a fine of up to $50,000 per Cell Site per week for which Acquiring Defendant
exercised its option to acquire such Cell Site or transport-related equipment for any
violation.

6. Subject to the terms and conditions of the applicable lease or easement for

such Cell Site, Divesting Defendants shall provide Acquiring Defendant reasonable

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access to inspect Decommissioned Cell Sites prior to the deadline for Acquiring
Defendant to exercise its option on the Decommissioned Cell Sites.
Dz. Decommissioned Retail Locations

1. Divesting Defendants shall make all assignable or transferrable Retail
Locations Decommissioned by Divesting Defendants within five (5) years of the closing
of the divestiture of the Prepaid Assets, which will not be fewer than four hundred (400)
Retail Locations, available to Acquiring Defendant immediately after such
Decommissioning.

2. Divesting Defendants shall notify Acquiring Defendant of Retail Locations
that Divesting Defendants plan to Decommission as soon as the locations are identified.

3. Divesting Defendants shall waive or terminate any rights they have to
impede or prevent Acquiring Defendant from using the Retail Locations.

4. Subject to the terms and conditions of the applicable lease for such Retail
Location, Divesting Defendants shall provide Acquiring Defendant reasonable access to
inspéct Decommissioned Retail Locations prior to the deadline for Acquiring Defendant
to exercise its option on the Decommissioned Retail Locations.

E. Unless the United States otherwise consents in writing or the Acquiring

Defendant declines its option to purchase certain Decommissioned Cell Sites or

Decommissioned Retail Locations, the divestitures pursuant to this Final Judgment will include

the entire Divestiture Assets. The divestitures will be accomplished in such a way as to satisfy

the United States, in its sole discretion, that the Divestiture Assets can and will be used by

Acquiring Defendant as part of a viable, ongoing operation relating to the provision of retail

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mobile wireless service. The divestitures will be accomplished so as to satisfy the United States,
in its sole discretion, that-none of the terms of any agreement between Acquiring Defendant and
Divesting Defendants gives the Divesting Defendants the ability unreasonably to raise the
Acquiring Defendant’s costs, to lower the Acquiring Defendant’s efficiency, or otherwise to
interfere with the ability of the Acquiring Defendant to compete.

Fs Acquiring Defendant shall use the Divestiture Assets to offer retail mobile
wireless services, including offering nationwide postpaid retail mobile wireless service within
one (1) year of the closing of the sale of the Prepaid Assets.

G. Divesting Defendants shall not take any action that will impede in any way the
permitting, operation, or divestiture of the Divestiture Assets.

H. Divesting Defendants shall warrant to Acquiring Defendant (1) that there are no
material defects known to the Divesting Defendants in the environmental, zoning, or other
permits pertaining to the operation of the Divestiture Assets, (2) that following the sale of the
Divestiture Assets, Divesting Defendants will not undertake, directly or indirectly, any
challenges to the environmental, zoning, or other permits relating to the operation of the
Divestiture Assets in a manner adverse to the Acquiring Defendant, and (3) that the Divestiture
Assets will be capable of full operation on the date of transfer. For purposes of this Paragraph,
the Divestiture Assets shall not include any Decommissioned Cell Sites or Decommissioned
Retail Locations as to which the Acquiring Defendant declined its option to acquire the assets.

I. For a period of up to one (1) year following the divestiture closing, if the
Acquiring Defendant determines that any assets not included in the Divestiture Assets were

previously used by the divested business and are reasonably necessary for the continued

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competitiveness of the Divestiture Assets, it shall notify the United States, the Plaintiff States,
and the Divesting Defendants in writing that it requires such assets. Provided, however, that
such assets shall not include any tangible or intangible wireless network or spectrum assets
(except as provided herein), or any tangible or intangible IT assets or software licenses used by
the remaining Sprint business. The United States, in its sole discretion, after consultation with
the affected Plaintiff States, taking into account Acquiring Defendant’s assets and business, shall
determine whether any of the assets identified should be divested to Acquiring Defendant. If the
United States determines that such assets should be divested, Divesting Defendants and
Acquiring Defendant will negotiate an agreement within thirty (30) calendar days providing for
the divestiture of such assets in a period to be determined by the United States in consultation
with the affected Plaintiff States and Divesting Defendants and Acquiring Defendant.
V. 600 MHz SPECTRUM DEPLOYMENT

A. Acquiring Defendant and Divesting Defendants agree to negotiate in good faith to
reach an agreement for Divesting Defendants to lease some or all of Acquiring Defendant’s 600
MHz Spectrum Licenses for deployment to retail consumers by Divesting Defendants.
Defendants shall report to the Monitoring Trustee within ninety (90) days after the filing of this
Final Judgment regarding the status of these negotiations. If, at the end of one hundred and
eighty (180) days, Defendants have not reached an agreement to lease some or all of Acquiring
Defendant’s 600 MHz Spectrum Licenses for deployment by Divesting Defendants and use by
retail consumers, the Monitoring Trustee shall report to the United States, which may then
resolve any dispute at the United States’ sole discretion, provided such resolution shall be based

on commercially reasonable and mutually beneficial terms for both parties, recognizing that the

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lease(s) must be for a sufficient period of time for Divesting Defendants to make adequate
commercial use of the 600 MHz Spectrum Licenses.
VI. FULL MOBILE VIRTUAL NETWORK OPERATOR

A. Divesting Defendants and Acquiring Defendant shall enter into a Full MVNO
Agreement for a term of no fewer than seven (7) years. The terms and conditions of the
Acquiring Defendant’s use of Divesting Defendants’ wireless networks pursuant to any Full
MVNO Agreement shall be commercially reasonable and must be acceptable to the United
States, in its sole discretion, after consultation with the affected Plaintiff States.

B. In carrying out its obligations under any Full MVNO Agreement, Divesting
Defendants:

1. shall not reject any of Acquiring Defendant’s lawful traffic, unless
authorized to do so by any Full MVNO Agreement and accepted by the United States, in
its sole discretion, after consultation with the affected Plaintiff States;

2. shall not unreasonably discriminate against Acquiring Defendant or
Acquiring Defendant’s subscribers, including by blocking, throttling, or otherwise
deprioritizing the Acquiring Defendant’s customers differently than Divesting
Defendants’ own similarly situated customers, unless authorized to do so by any Full
MVNO Agreement;

3. shall use reasonable best efforts to provide Acquiring Defendant all
operational support required for Acquiring Defendant’s customers (including, but not
limited to, customers of the Prepaid Assets) to be able to use the Divesting Defendants’

wireless networks;
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4, shall not unreasonably refuse to allow any device used by Acquiring
Defendant’s customers to access the Divesting Defendants’ wireless networks, or
otherwise unreasonably refuse to approve or support any such devices, and shall approve
such devices for use upon request as soon as reasonably practicable, and shall use
commercially reasonable efforts to provide technical support or other assistance to the
Acquiring Defendant as requested to facilitate approval of any devices for use on
Divesting Defendants’ wireless networks;

SF shall configure its wireless network as necessary to enable the provision of
handover mobility for the Acquiring Defendant’s customers in the boundary areas
between the Acquiring Defendant’s network, built out in contiguous coverage areas (e.g.,
city-wide coverage), and the Divesting Defendants’ wireless networks; and

6. shall not otherwise unreasonably delay, impede, or frustrate Acquiring
Defendant’s ability to use any Full MVNO Agreement and the Divesting Defendants’
networks to become a nationwide facilities-based retail mobile wireless services provider.
VII. MOBILE VIRTUAL NETWORK OPERATOR COMPETITION

A. Divesting Defendants shall abide by all terms of their existing MVNO

agreements. Divesting Defendants shall agree to extend existing MVNO agreements on their

existing terms (other than any “most favored nation” provisions) until the expiration of this Final

Judgment unless the Divesting Defendants demonstrate to the Monitoring Trustee that doing so

will result in a material adverse effect, other than as a result of competition, on the Divesting

Defendants’ ongoing business. For the avoidance of doubt, Divesting Defendants are not

required to extend any MVNO agreements beyond the expiration of this Final Judgment or any

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existing infrastructure-based MVNO agreement that includes a reciprocal facility sharing
arrangement unless it includes a mutually beneficial reciprocal facility sharing arrangement for
the duration of the MVNO agreement. Any disputes arising from the negotiation of an
agreement pursuant to this Paragraph shall be resolved by the United States in its sole discretion.

B. Divesting Defendants and Acquiring Defendant agree to support eSIM
technology on smartphones, including working with handset equipment manufacturers to support
eSIM-capable phones to the extent such phones are technically capable of operating on Divesting
Defendants or Acquiring Defendant’s wireless networks.

C. Divesting Defendants and Acquiring Defendant shal! not discriminate against
devices for the reason that the device uses remote SIM provisioning and eSIM technology to
connect to the Defendants’ wireless networks. Examples of discrimination would include, but
are not limited to, refusing to sell a device because it contains or uses an eSIM, and refusing to
certify for network access a device because it uses an eSIM, but discrimination would not
include the application of the Defendant’s generally applicable device-locking policies to devices
sold or leased by Defendant, provided that the locking policy is consistent with Paragraph
VIICF), below.

Dz. Divesting Defendants and Acquiring Defendant shall not discriminate against
devices for the reason that the device allows multiple active profiles or for the reason that the
device allows automatic switching between those profiles. Examples of discrimination would
include, but are not limited to, refusing to sell a device because it has these functions, and
refusing to certify for network access a device because it has these functions. For avoidance of

doubt, nothing contained in this provision will prohibit Defendants from exercising discretion to

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determine whether a device or technology will harm or impede the operation of their respective
wireless networks.

Se Divesting Defendants and Acquiring Defendant shall make their network plans
available to consumers who use on-screen selection software or applications from devices
capable of being remotely provisioned on the same terms as offered to other consumers in that
geographic area. This provision will apply to any device that is the same make and model as any
device Defendants sell or otherwise certify for network access.

Ie Divesting Defendants and Acquiring Defendant agree to abide by the following
unlocking principles for all methods of locking (including any limitation on the use of an eSIM
to switch between profiles) for any postpaid or prepaid mobile wireless device that they lock to
their network: (i) Divesting Defendants and Acquiring Defendant will post on their respective
websites their clear, concise, and readily accessible policies on postpaid and prepaid mobile
device unlocking; (ii) Divesting Defendants and Acquiring Defendant will unlock mobile
wireless devices for their customers and former customers in good standing and individual
owners of eligible devices after the fulfillment of the applicable postpaid service contract, device
financing plan, or payment of applicable early termination fee; (iii) Divesting Defendants and
Acquiring Defendant will unlock prepaid mobile wireless devices no later than one (1) year after
initial activation, consistent with reasonable time, payment, or usage requirements; and (iv)
Divesting Defendants and Acquiring Defendant will automatically unlock devices remotely
within two (2) business days of devices becoming eligible for unlocking, and without additional

fee, provided, however, that if not technically possible to automatically unlock devices remotely,

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Divesting Defendants and Acquiring Defendant shall instead provide immediate notice to
consumers that the devices are eligible to be unlocked.
VUI. FACILITIES-BASED EXPANSION AND ENTRY

A. Divesting Defendants shall comply with all network build commitments made to
the FCC related to the merger of T-Mobile and Sprint or the divestiture to Acquiring Defendant
as of the date of entry of this Final Judgment, subject to verification by the FCC. Acquiring
Defendant shall comply with the June 14, 2023 AWS-4, 700 MHz, H Block, and Nationwide 5G
Broadband network build commitments made to the FCC as of the date of entry of this Final
Judgment, subject to verification by the FCC. Defendants shall provide to the United States and
the Plaintiff States copies of any reports or submissions to the FCC that are associated with any
FCC order(s) within three (3) business days of submission to the FCC.

B. Divesting Defendants shall not interfere with Acquiring Defendant’s efforts to
deploy a nationwide facilities-based mobile wireless network, or to operate that network.
Acquiring Defendant shall use its best efforts to serve subscribers over its facilities-based
wireless network rather than over Divesting Defendants’ wireless networks.

C. On the first day of the first fiscal quarter following the entry of this Final
Judgment and every one hundred and eighty (180) days thereafter, Acquiring Defendant shall
submit to the United States and the Plaintiff States an update on the status of its wireless network
deployment. This update will include a description of Acquiring Defendant’s deployment efforts
since Acquiring Defendant’s last report, including (a) the number of towers and small cells
deployed by Acquiring Defendant; (b) the spectrum bands over which Acquiring Defendant has
deployed equipment; (c) Acquiring Defendant’s progress in obtaining subscriber devices that

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operate on each of its licensed spectrum bands; (d) the percentage of the population of the United
States covered by Acquiring Defendant’s wireless network; (e) the number of mobile wireless
subscribers served by Acquiring Defendant; (f) the amount of traffic transmitted to and from
these subscribers over Acquiring Defendant’s facilities-based wireless network; (g) the amount
of traffic transmitted to and from these subscribers over Divesting Defendants’ network pursuant
to a Full MVNO Agreement; and (h) any efforts by Divesting Defendants to interfere with
Acquiring Defendant’s efforts to deploy and operate its facilities-based wireless network,
IX. FINANCING

Divesting Defendants and Parent Defendants shall not finance any part of any purchase
made pursuant to this Final Judgment, unless the United States approves such financing in its
sole discretion,

X. STIPULATION AND ORDER

Until the divestitures required by this Final Judgment have been accomplished, Divesting
Defendants shall take all steps necessary to comply with the Stipulation and Order entered by the
Court. Defendants shall take no action that would jeopardize the divestiture ordered by the
Court.

XI. AFFIDAVITS

A. Within twenty (20) calendar days of the filing of the Complaint in this matter,
Divesting Defendants shall deliver to the United States and the Plaintiff States an affidavit that
describes in reasonable detail all actions Divesting Defendants have taken and all steps Divesting
Defendants have implemented on an ongoing basis to comply with Section X of this Final

Judgment. Divesting Defendants shall deliver to the United States and the Plaintiff States an

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affidavit describing any changes to the efforts and actions outlined in Divesting Defendants’
earlier affidavits filed pursuant to this Section within fifteen (15) calendar days after the change
is implemented.

B. Divesting Defendants shall keep all records of all efforts made to preserve and
divest the Divestiture Assets until one (1) year after such divestiture has been completed.

XII. APPOINTMENT OF MONITORING TRUSTEE

A. Upon application of the United States, after consultation with the Plaintiff States,
the Court shall appoint a Monitoring Trustee selected by the United States and approved by the
Court.

B. The Monitoring Trustee shall have the power and authority to monitor
Defendants’ compliance with the terms of this Final Judgment and the Stipulation and Order
entered by the Court, and shall have such other powers as the Court deems appropriate. The
Monitoring Trustee shall be required to investigate and report on the Defendants’ compliance
with this Final Judgment and the Stipulation and Order, and the Defendants’ progress toward
effectuating the purposes of this Final Judgment, including but not limited to: Divesting
Defendants’ sale of the Divestiture Assets, Divesting Defendants’ compliance with its
requirements to make Cell Sites and Retail Locations available to Acquiring Defendant, and
Acquiring Defendant’s progress toward using the Divestiture Assets and other company assets to
operate a retail mobile wireless network.

C. Subject to Paragraph XII(E) of this Final Judgment, the Monitoring Trustee may
hire at the cost and expense of Divesting Defendants any agents, investment bankers, attorneys,

accountants, or consultants, who will be solely accountable to the Monitoring Trustee,

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reasonably necessary in the Monitoring Trustee’s judgment. Any such agents or consultants
shall serve on such terms and conditions as the United States approves, including confidentiality
requirements and conflict of interest certifications.

Dz. Defendants shall not object to actions taken by the Monitoring Trustee in
fulfillment of the Monitoring Trustee’s responsibilities under any Order of the Court on any
ground other than the Monitoring Trustee’s malfeasance. Any such objections by Defendants
must be conveyed in writing to the United States and the Monitoring Trustee within ten (10)
calendar days after the action taken by the Monitoring Trustee giving rise to Defendants’
objection.

Ez The Monitoring Trustee shall serve at the cost and expense of Divesting
Defendants pursuant to a written agreement with Divesting Defendants and on such terms and
conditions as the United States approves, including confidentiality requirements and conflict of
interest certifications. The compensation of the Monitoring Trustee and any agents or
consultants retained by the Monitoring Trustee shall be on reasonable and customary terms
commensurate with the individuals’ experience and responsibilities. If the Monitoring Trustee
and Divesting Defendants are unable to reach agreement on the Monitoring Trustee’s or on
agents’ or consultants’ compensation or other terms and conditions of engagement within
fourteen (14) calendar days of the appointment of the Monitoring Trustee, the United States may,
in its sole discretion, take appropriate action, including making a recommendation to the Court.
The Monitoring Trustee shall, within three (3) business days of hiring any agents or consultants,
provide written notice of such hiring and the rate of compensation to Divesting Defendants and

the United States.

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Fi, The Monitoring Trustee shall have no responsibility or obligation for the
operation of Defendants’ businesses.

G. Defendants shall use their best efforts to assist the Monitoring Trustee in
monitoring Defendants’ compliance with their individual obligations under this Final Judgment
and under the Stipulation and Order. The Monitoring Trustee and any agents or consultants
retained by the Monitoring Trustee shall have full and complete access to the personnel, books,
records, and facilities relating to compliance with this Final Judgment, subject to reasonable
protection for trade secrets; other confidential research, development, or commercial
information; or any applicable privileges. Defendants shall take no action to interfere with or to
impede the Monitoring Trustee’s accomplishment of its responsibilities.

H. After its appointment, the Monitoring Trustee shall file reports monthly, or more
frequently as needed, with the United States setting forth Defendants’ efforts to comply with
Defendants’ obligations under this Final Judgment and under the Stipulation and Order. To the
extent such reports contain information that the Monitoring Trustee deems confidential, such
reports will not be filed in the public docket of the Court.

I. The Monitoring Trustee shall serve until the divestiture of all the Divestiture
Assets is finalized pursuant to this Final Judgment, until the buildout requirements are complete
pursuant to Section VIII of this Final Judgment, until any Full MVNO Agreement expires or
otherwise terminates, or until the term of any transition services agreement pursuant to Paragraph

IV(A)(4) of this Final Judgment has expired, whichever is later.

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J. If the United States determines that the Monitoring Trustee has ceased to act or
failed to act diligently or in a reasonably cost-effective manner, it may recommend that the Court
appoint a substitute Monitoring Trustee.

XU. FIREWALL

A. During the term of this Final Judgment, the Divesting Defendants and Acquiring
Defendant shall implement and maintain reasonable procedures to prevent competitively
sensitive information from being disclosed by or through implementation and execution of the
obligations in this agreement or any associated agreements to components or individuals within
the respective companies involved in the marketing, distribution, or sale of competing products.

B. Divesting Defendants and Acquiring Defendant each shall, within thirty (30)
business days of the entry of the Stipulation and Order, submit to the United States, the Plaintiff
States, and the Monitoring Trustee a document setting forth in detail the procedures implemented
to effect compliance with this Section. Upon receipt of the document, the United States shall
inform Divesting Defendants and Acquiring Defendant within thirty (30) business days whether,
in its sole discretion, it approves of or rejects each party’s compliance plan. In the event that
Divesting Defendants’ or Acquiring Defendant’s compliance plan is rejected, the United States
shall provide Divesting Defendants or Acquiring Defendant, as applicable, the reasons for the
rejection. Divesting Defendants or Acquiring Defendant, as applicable, shall be given the
Opportunity to submit, within ten (10) business days of receiving a notice of rejection, a revised
compliance plan. If Divesting Defendants or Acquiring Defendant cannot agree with the United

States on a compliance plan, the United States shall have the right to request that this Court rule

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on whether Divesting Defendants’ or Acquiring Defendant’s proposed compliance plan fulfills
the requirements of this Section.
C. Divesting Defendants and Acquiring Defendant shall:

I. furnish a copy of this Final Judgment and related Competitive Impact
Statement within sixty (60) calendar days of entry of the Stipulation and Order to (a) each
officer, director, and any other employee that will receive competitively sensitive
information; and (b) each officer, director, and any other employee that is involved in (i)
any contacts with the other companies that are parties to any transition services
agreement contemplated by this Final Judgment, or (ii) making decisions under any
transition services agreement entered into pursuant to this Final Judgment;

2. furnish a copy of this Final Judgment and related Competitive Impact
Statement to any successor to a person designated in Paragraph XIII(C)(1) upon
assuming that position;

3, annually brief each person designated in Paragraph XIII(C)(1) and
Paragraph XIII(C)(2) on the meaning and requirements of this Final Judgment and the
antitrust laws; and

4, obtain from each person designated in Paragraph XI(C)(1) and Paragraph
X1(C)(2), within thirty (30) calendar days of that person’s receipt of the Final Judgment,
a certification that he or she (a) has read and, to the best of his or her ability, understands
and agrees to abide by the terms of this Final Judgment; (b) is not aware of any violation
of the Final Judgment that has not been reported to the company; and (c) understands that

any person’s failure to comply with this Final Judgment may result in an enforcement

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action for contempt of court against each Defendant or any person who violates this Final
Judgment.

XIV. COMPLIANCE INSPECTION

 

A. For the purposes of determining or securing compliance with this Final Judgment,
or of any related orders such as any Stipulation and Order, or of determining whether the Final
Judgment should be modified or vacated, and subject to any legally-recognized privilege, from
time to time authorized representatives of the United States, including agents and consultants
retained by the United States, shall, upon written request of an authorized representative of the
Assistant Attorney General in charge of the Antitrust Division, and on reasonable notice to
Defendants, be permitted:

1. access during Defendants’ office hours to inspect and copy, or at the option
of the United States, to require Defendants to provide electronic copies of all books,
ledgers, accounts, records, data, and documents in the possession, custody, or control of
Defendants, relating to any matters contained in this Final Judgment; and

2. to interview, either informally or on the record, Defendants’ officers,
employees, or agents, who may have their individual counsel present, regarding such
matters. The interviews will be subject to the reasonable convenience of the interviewee
and without restraint or interference by Defendants.

B. Upon the written request of an authorized representative of the Assistant Attorney
General in charge of the Antitrust Division, Defendants shall submit written reports or response
to written interrogatories, under oath if requested, relating to any of the matters contained in this

Final Judgment as may be requested.

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C. No information or documents obtained by the means provided in this Section will
be divulged by the United States to any person other than an authorized representative of the
executive branch of the United States, except in the course of legal proceedings to which the
United States is a party (including grand jury proceedings), for the purpose of securing
compliance with this Final Judgment, or as otherwise required by law.

Dz. If at the time that Defendants furnish information or documents to the United
States, Defendants represent and identify in writing the material in any such information or
documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal
Rules of Civil Procedure, and Defendants mark each pertinent page of such material, “Subject to
claim of protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then the
United States shall give Defendants ten (10) calendar days’ notice prior to divulging such
material in any legal proceeding (other than a grand jury proceeding).

XV. NO REACQUISITION OR SALE TO COMPETITOR

A. Divesting Defendants and Parent Defendants shall not reacquire any part of the
Divestiture Assets during the term of this Final Judgment.

B. Divesting Defendants and Parent Defendants shall not acquire any other assets
that are substantially similar to the Divestiture Assets from the Acquiring Defendant during the
terms of this Final Judgment.

C. Acquiring Defendant shall not sell, lease, or otherwise provide the right to use the
Divestiture Assets (including, but not limited to, selling wholesale wireless network capacity) to
any national facilities-based mobile wireless provider during the term of this Final Judgment,

except for a roaming arrangement, without prior approval of the United States; provided,

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however, that following the divestiture of the 800 MHz Spectrum Licenses, the Divesting
Defendants will be permitted to lease back from the Acquiring Defendant up to 4 MHz of
spectrum as needed for up to two (2) years following the divestiture of the 800 MHz Spectrum
Licenses.

XVI. NOTIFICATIONS

A. Acquiring Defendant shall notify the United States at least thirty (30) calendar
days prior to any change in the corporation(s) that may affect compliance obligations arising
under this Final Judgment, including, but not limited to: a dissolution, assignment, sale, merger,
or other action that would result in the emergence of a successor corporation; the creation or
dissolution of a subsidiary, parent, or affiliate that engages in any acts or practices subject to
this Final Judgment; the proposed filing of a bankruptcy petition; or a change in the corporate
name or address. Provided, however, that, with respect to any proposed change in the
corporation(s) about which Acquiring Defendant learns fewer than thirty (30) calendar days
prior to the date such action is to take place, Acquiring Defendant shall notify the United States
as soon as Is practicable after obtaining such knowledge.

B. For transactions that are not subject to the reporting and waiting period
requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15
U.S.C, § 18a (the “HSR Act”), Divesting Defendants shall not, without providing advanced
notification to the United States, directly or indirectly acquire a financial interest, including
through securities, loan, equity, or management interest, in any company that competes for the

provision of mobile wireless retail services. Acquiring Defendant shall not sell any of the

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Divestiture Assets or any currently held substantially similar assets, directly or indirectly,
without providing advance notification to the United States,

C. Such notification will be provided to the United States in the same format as, and
per the instructions relating to, the Notification and Report Form set forth in the Appendix to
Part 803 of Title 16 of the Code of Federal Regulations as amended. Notification will be
provided at least thirty (30) calendar days prior to acquiring any such interest, and will include,
beyond what may be required by the applicable instructions, the names of the principal
representatives of the parties to the agreement who negotiated the agreement, and any
management or strategic plans discussing the proposed transaction. If within thirty (30) calendar
days after notification, the United States makes a written request for additional information,
Defendants shall not consummate the proposed transaction or agreement until thirty (30)
calendar days after submitting and certifying, in the manner described in Part 803 of Title 16 of
the Code of Federal Regulations as amended, the truth, correctness, and completeness of all such
additional information. Early termination of the waiting periods in this paragraph may be
requested and, where appropriate, granted in the same manner as is applicable under the
requirements and provisions of the HSR Act and rules promulgated thereunder. This Section
will be broadly construed and any ambiguity or uncertainty regarding the filing of notice under
this Section will be resolved in favor of filing notice. Defendants may, however, provide
informal notice and request that the United States waive the requirement of formal notice for any
transaction.

D. Defendants represent and warrant to the United States that they have disclosed all
agreements between Acquiring Defendant and either Divesting Defendants or Parent Defendants

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related to the settlement of this action and their obligations and commitments put forth in this
Final Judgment. Defendants will provide thirty (30) days written notice to the United States of
any intent to enter into or execute any amendment, supplement, or modification to any of the
agreements between Divesting Defendants or Parent Defendants and Acquiring Defendant.
Notwithstanding any provision to the contrary in the agreements between Divesting Defendants
or Parent Defendants and Acquiring Defendant, Divesting Defendants or Parent Defendants may
not amend, supplement, terminate, or modify any of the agreements or any portion thereof
without obtaining the consent of the United States in its sole discretion. The United States will
not withhold consent to amendment, supplementation, modification, or termination of any of the
agreements or portion thereof if Divesting Defendants demonstrate to the United States, in its
sole discretion, that a refusal to amend, supplement, modify, or terminate the agreements would
prevent Divesting Defendants from meeting any build out requirements imposed by the FCC.
XVII. RETENTION OF JURISDICTION

The Court retains jurisdiction to enable any party to this Final Judgment to apply to the
Court at any time for further orders and directions as may be necessary or appropriate to carry
out or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and
to punish violations of its provisions.

XVII. ENFORCEMENT OF FINAL JUDGMENT

A. The United States retains and reserves al! rights to enforce the provisions of this
Final Judgment, including the right to seek an order of contempt from the Court. Defendants
agree that in any civil contempt action, any motion to show cause, or any similar action brought

by the United States regarding an alleged violation of this Final Judgment, the United States may

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establish a violation of the decree and the appropriateness of any remedy therefore by a
preponderance of the evidence, and Defendants waive any argument that a different standard of
proof should apply.

B. The Final Judgment should be interpreted to give full effect to the procompetitive
purposes of the antitrust laws and to restore all competition harmed by the challenged conduct.
Defendants agree that they may be held in contempt of, and that the Court may enforce, any
provision of this Final Judgment that, as interpreted by the Court in light of these procompetitive
principles and applying ordinary tools of interpretation, is stated specifically and in reasonable
detail, whether or not it is clear and unambiguous on its face. In any such interpretation, the
terms of this Final Judgment should not be construed against either party as the drafter.

C. In any enforcement proceeding in which the Court finds that Defendants have
violated this Final Judgment, the United States may apply to the Court for a one-time extension
of this Final Judgment, together with such other relief as may be appropriate. In connection with
any successful effort by the United States to enforce this Final Judgment against a Defendant,
whether litigated or resolved prior to litigation, that Defendant agrees to reimburse the United
States for the fees and expenses of its attorneys, as well as any other costs including experts’
fees, incurred in connection with that enforcement effort, including in the investigation of the
potential violation.

Dz. For a period of four (4) years after the expiration or termination of the Final
Judgment pursuant to Section XIX, ifthe United States has evidence that a Defendant violated
this Final Judgment before it expired or was terminated, the United States may file an action

against that Defendant in this Court requiring that the Court order (i) Defendant to comply with

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the terms of this Final Judgment for an additional term of at least four (4) years following the
filing of the enforcement action under this Section, (ii) any appropriate contempt remedies, (iii)
any additional relief needed to ensure that Defendant complies with the terms of the Final
Judgment, and (iv) fees or expenses as called for in Paragraph XVIII(C).
XIX. EXPIRATION OF FINAL JUDGMENT
Unless the Court grants an extension, this Final Judgment expires seven (7) years from
the date of its entry, except that after five (5) years from the date of its entry, this Final Judgment
may be terminated upon notice by the United States to the Court and Defendants that the
divestitures, buildouts and other requirements have been completed and that the continuation of
the Final Judgment no longer is necessary or in the public interest.
XX. PUBLIC INTEREST DETERMINATION
Entry of this Final Judgment is in the public interest. The parties have complied with the
requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making
copies available to the public of this Final Judgment, the Competitive Impact Statement, any
comments thereon, and the United States’ responses to comments. Based upon the record before
the Court, which includes the Competitive Impact Statement and any comments and responses to
comments filed with the Court, entry of this Final Judgment is in the public interest.

Date: Avil 1, 2020

[Court approval subject to procedures of Antitrust Procedures and Penalties Act, 15 U.S.C. § 16]

 L20h,-

United States District Judge

 

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DISH Network/ParkerB.Com L.L.C. 600 MHz Licenses (sorted by call sign)

a athe

| CallSign PEA Numb

-wazM232

cipality

PEA 026 Las Vegas NV

WQZM233 PEA026 Las Vegas NV
WQZM234 PEA 362 Payette ID
WQZM235 PEA 148 Bellingham WA
WQZM236 PEA 195 Lewiston ID
WQZM237° PEA 237 Hinesville GA
WQZM238 PEA 215 Hickory Nc
. WQZM239 PEA 410 Valentine NE
WQZM240 PEA 254 Merrill WI
‘ WQZM241 PEA 185 Marquette MI
WQZM242_ PEA 137 Eau Claire WI
WQ2ZM243 PEA 074 Chattanooga ™N
WQZM244 PEAOOS Miami FL
WQZM245 PEAO009 Miami FL
WQZM246 PEAOO09 Miami FL
WQZM247_ PEA 335 Natchitoches LA
WQZM248 PEA 404 Kanab UT
WQ2ZM249 =PEA 285 Gallup NM
WQZM250 PEA 392 Maryville MO
WQZM251 PEA 412 Puerto Rico PR
WQZM252 PEA 412 Puerto Rico PR
WQZM253 PEA 038 Milwaukee Wi
WQZM254_ PEA 386 Barnwell sc
WQZM255 PEA029 Jacksonville FL
WQZM256_ PEA 382 Riverton WY
WQZM257_ PEA 343 Pecos TX
WQZM258 PEA 261 Fargo ND
WQZM259_ PEA 226 Lima OH
WQZM260 PEA 336 Grand Forks ND
WQZM261 PEA390 Snyder TX
WQZM262 PEA 408 Ballinger TX
WQZM263 PEA 363 Big Spring TX
WQZM264 PEA 402 Brady TX
WQZM265 PEA 288 Abilene ™
WQZM266 PEA 320 San Angelo TX
WQZM267 PEA 247 Nampa ID
WQZM268 PEA 156 Boise City ID
WQZM269 PEA 046 Little Rock AR
WQZM270 PEA 046 Little Rock AR

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WQ2ZM271 PEA 297 Pendleton OR

WQZM272_ PEA 206 Wenatchee WA
WQZM273 PEA119 Yakima WA
WQZM274 PEA 107 Bangor ME
WQZM275 PEA 127 Evansville IN
WQZM276 PEA 323 Socorro NM
WQZM277 PEA 263 Santa Fe NM
WQZM278 PEA 345 Newberry Sc
WQZM279 PEA 327 Orangeburg sc
WQZM280 PEA 284 Greenwood SC
WQZM281 PEA 332 Bennettsville sc
WQZM282 PEA 188 Jamestown NY
WQZM283 PEA 138 Burlington VT
WQZM284_ PEA 319 Albany GA
WQZM285_ PEA 371 Wytheville VA
WQZM286 PEA 230 Lumberton NC
WQZM287 PEA291 Rockingham NC
WQZM288 PEA 309 Elizabeth City NC
WQZM289 PEA 228 Roanoke VA
WQZM290 PEA 131 Sanford NC
WQZM291 PEA 169 Goldsboro Nc

‘ WQZM292 PEA 146 Wilmington Nc
WQZM293 PEA 305 Altus OK
WQZM294_ PEA 302 Enid OK

: WQZM295 PEA251 Salina KS
WQZM296 PEA277 Hutchinson KS
WQZM297_ PEA070 Eugene OR
WQ2ZM298 PEA 403 Lewistown MT
WQZM299_ PEA 334 Pampa TX
WQZM300 PEA411 Van Horn TX
WQZM301 PEA 048 Harrisburg PA

* WQZM302 PEA084 Mobile AL

- WQZM303 PEA027 Salt Lake City UT
WQZM304 PEA027 Salt Lake City UT
WQZM305 PEAO11 Atlanta GA
WQZM306 PEA011 Atlanta GA
WQZM307 PEA 132 Corpus Christi TX
WQZM308 PEA 409 Haskell ™

» WQZM309 PEA 400 Muleshoe TX

-WQZM310 PEA 401 Floydada TX
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WQZM311 PEA 376 Hereford TX

WQZM312 PEA 355 Casper WY
WQZM313 PEA 346 Franklin NC
WQZM314_ PEA 233 Shelby NC
WQZM315_ PEA 208 Salisbury NC
WQZM316 PEA 207 Brunswick GA
WQZM317 PEA008 Dallas T™
WQZM318 PEA008 Dallas ™
WQZM319 PEA004 San Francisco CA
WQZM320 PEA004 San Francisco CA
WQZM321 PEA004 San Francisco CA
WQ2ZM322 PEA010 Houston ™
WQZM323 PEA 416 Gulf of Mexico N/A
’WQZM324 PEA 416 Gulf of Mexico N/A
WQZM325 PEA 396 Winterset IA
WQZM326 PEA 370 Washington IA
WQZM327 PEA 265 Winona MN
WQZM328 PEA 354 New London WI
WQZM329 PEA 253 Baraboo WI
WQZM330 PEA 269 Racine WI
WQZM331 PEA 268 Clinton lA
WQZM332 PEA 218 Wausau WI
’ WQZ2M333 PEA 294 Waterloo IA
WQZM334_ PEA 267 Sheboygan Wi
WQZM335 PEA 252 Sioux City IA
WQZM336 PEA 209 Green Bay WI
WQZM337 PEA 176 Ames lA
WQZM338 PEA 163 Davenport IA
WQZM339 PEA 225 La Crosse WI
WQZM340 PEA 223 Dubuque IA
-WQ2M341_ PEA 179 Burlington IA
WQZM342 PEA155 Appleton WI
WQZM343 PEA 182 Cedar Rapids lA
WQZM344 PEA122 Madison wil
WQZM345_ PEA219 Mason City IA
WQZM346 PEA 153 Fond du Lac WI
WQZM347 PEA 159 Valdosta GA
WQZM348 PEA 197 Wheeling WV
‘ WQZM349 PEA 121 Altoona PA
WQZM350 PEA 194 State College PA
Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 40 of 64

| Call Sigr ) let Municipality Seen

“WQZM351_ PEA 387 Wahpeton ND

WQZM352 PEA 270 Ottawa IL
WQZM353 PEA 118 Richmond IN
WQZM354 PEA 143 Keene NH
WQZM355_ PEA 407 Salmon ID
WQZM356 PEA 324 Honesdale PA
WQZM357 PEA 136 Williamsport PA
WQZM358 PEA 241 Dublin GA
WQZM359_ PEA 298 Fairbanks AK
WQZM360 PEA 298 Fairbanks AK
WQZM361 PEA 298 Fairbanks AK
WQZM362 PEA 264 Kodiak AK
WQZM363 PEA 264 Kodiak AK
WQZM364_ PEA 264 Kodiak AK
WQZM365 PEA 406 Anamosa IA
WQZM366 PEA 322 Minot ND
WQZM367 PEA 318 Thief River Falls MN
WQZM368 PEA 274 Twin Falls ID
WQZM369 PEA 187 Pocatello ID
WQZM370 PEA 279 Logan UT
WQZM371 PEA158 Helena MT
WQZM372 PEA 068 Grand Rapids MI
WQZM373 PEA056 Kalamazoo Mi
WQZM374 PEA061 Toledo OH
WQZM375 PEA315 Sheridan WY
WQZM376 PEA 348 Aberdeen SD
WQZM377 PEA 129 Springfield IL
WQZM378 PEA 256 Lynchburg VA
; WQZM379_ PEA 256 Lynchburg VA
WQZM380 PEA 378 Waynesboro GA
WQZM381 PEA 378 Waynesboro GA
WQZM382 PEA 147 Salisbury MD
' WQZM383_ PEA 147 Salisbury MD
: WQZM384_ PEA 260 Alpena MI
‘ WQZM385_ PEA 203 Traverse City MI
WQZM386 PEA 338 Durango co
WQZM387 PEA178 Sedalia MO
WQZM388 PEA178 Sedalia Mo
WQZM389 PEA 101 Wichita KS
WQZM390 PEA073 El Paso TX
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PEA 031

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PEA 151
PEA 384
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Indianapolis
Sacramento
Sacramento

South Sioux City
Albuquerque

US Virgin Islands
New York

New York

New York

New York

Espanola

Flagstaff

Americus

Hilton Head Island
Macon
Winston-Salem
Manchester
Honolulu

Honolulu

Nashville

Nashville

Clovis

Roswell

Ardmore

Lenoir

San Diego

San Diego

Sioux Falls

Price

Brownsville

Tucson
Minneapolis-St. Paul
Minneapolis-St. Paul
Seattle

Seattle

Philadelphia
Philadelphia
Baltimore-Washington
Baltimore-Washington

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Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 42 of 64

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WOQZM431 PEA280  _ Garden City KS

WQZM432_ PEA 339 Scottsbluff NE
WQZM433_ PEA 331 Plainview T™
WQZM434 PEA 276 Rapid City sD
WQZM435_ PEA 383 Creston IA
WQZM436 PEA 036 New Orleans LA
WQZM437 PEA 040 Birmingham AL
WQZM438 PEA 040 Birmingham AL
WQZM439_ PEA 248 Sumter SC
WQZM440_ PEA 134 Newark OH
WQZM441 PEA141 Brainerd MN
WQZM442 PEAOS51 Louisville KY
WQZM443 PEAO51 Louisville KY
WQZM444_ PEA 342 Mitchell SD
WQZM445 PEA 044 Rochester NY
WQZM446 PEA 044 Rochester NY
WQZM447_ PEA 060 Manchester NH
WQZM448 PEA 060 Manchester NH
: WQZM449_ =~PEA 069 Springfield MA
- WQZM450_ PEA 391 Ontario OR
'WQZM451_ =PEA 379 Sault Ste. Marie MI
WQZM452_ PEA 380 Escanaba MI
WQZM453_ PEA 395 Jamestown NO
WOZM454_ PEA072 Tallahassee FL
WQZM455_ PEA 067 Sarasota FL
WQZM456 PEA O65 Cape Coral FL
WQZM457_  PEA002 Los Angeles CA
WQZM458 PEA 002 Los Angeles CA
WQZM459_ PEA 258 Cullman AL
WQZM460 PEA170 Dothan AL
WQZM461_ PEA 139 Hot Springs AR
WQZM462_ PEA 034 Fresno CA
WQZM463 PEA034 Fresno CA
WQZM464 PEA023 Pittsburgh PA
WQZM465_ PEA023 Pittsburgh PA
WQZM466 PEA019 Portland OR
WQZM467 PEA019 Portland OR
WQZM468 PEA013 Orlando FL
WQZM469 PEA013 Orlando FL
’ WQZM470_ ~PEA 204 Owensboro KY
Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 43 of 64

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~WQZM471_ PEA 234 Lexington NC

WQZM472 PEA 003 Chicago IL
WQZM473 PEA 292 Pueblo co
WQZM474_ ~PEA 304 Mount Airy NC
WQZM475 PEA076 Reno NV
_~WQZM476 PEA 105 Augusta GA
WQZM477_ PEA 117 La Grange GA
WQZM478 PEA071 Knoxville ™N
WQZM479_ PEA 394 Martin SD
WQZM480 PEA 351 Dickinson ND
- WQZM481_ ~PEA 162 Elizabethtown KY
WQZM482_ PEA0O81 Saginaw Mi
WQZM483  PEA081 Saginaw MI
WQZM484_ PEA 326 Fergus Falls MN
’ WQZM485 PEA 112 Bowling Green KY
WQZM486 PEAQ77 Portland ME
. WQZM487_ PEA 287 Kenosha WI
WQZM488 PEA 224 De Kalb IL
_WQZM489_ PEA 186 Rock Hill sc
'WQZM4S90 PEA 193 Saint Joseph MO
WQZM491 PEA193 Saint Joseph MO
WQZM492_ PEA 250 Las Cruces NM
WQZM493_ PEA 066 Lansing MI
WQZM494_ PEA 066 Lansing MI
WQZM495_ PEA 333 Sidney OH
WQZM496 PEA 321 Batesville IN
- WQZM497_ PEA 123 Mansfield OH
WQZM498_ PEA 368 Concordia KS
: WQZM499_ ~PEA 296 Pottsville PA
WQZMS500 PEA 290 Watertown SD
WQZM501 PEA 290 Watertown SD
WQZMS502 PEA 037 Columbus OH
WQZM503 PEA037 Columbus OH
WQZM504_ PEA 361 Richfield UT
WQZMSO0S_ PEA 303 Great Falls MT
WQZM506 PEA 140 Fredericksburg VA
WQZMS507 PEA 140 Fredericksburg VA
WQZM508 PEA063 Tulsa OK
WQZMS09_ PEA 413 Guam Guam
WQZM510 PEA 102 Grand Junction co
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WQZM511 PEA 316 Rock Springs WY

WQZMS12 PEA 366 Pullman WA
WQZM513 PEA 366 Pullman WA
WQZMS14 PEA 353 Watseka IL
WQZ2M515 PEA113 Erie PA
WQZM516 PEAOS92 Decatur IL
WQZM517_ PEAO83 Fort Wayne IN
WQZM518 PEA064 South Bend IN
~WQZM519 PEAO58 Bloomington IN
WQZM520 PEAO89S Columbia SC
WOQZM521 PEAO15 Phoenix AZ
/WQZMS522 ~PEAO15 Phoenix AZ
~WQZM523 ~PEA 347 New Roads LA
WQZM524 PEA 350 Forrest City AR
WQZM525 PEA 293 Lawrenceburg TN
WQZM526 PEA 310 Farmington MO
WQZM527 PEA 196 Cape Girardeau Mo
WQZMS28 PEA145 Columbia TN
WQZM529 PEA174 Springfield Mo
WQZM530 PEA161 Carbondale IL
WQZMS531 PEA125 Alton IL
WQZMS32 PEA 273 Bloomington IL
WQZM533 PEA 329 Kingsville TX
WQZMS34_ PEA 385 Hannibal Mo
WQZMS35 PEA255 Greenville Ms
WQZM536 PEA 149 Biloxi Ms
WQZM537_ PEA175 Southaven MSs
WQZM538 PEA030 Kansas City MO
WQZM539 PEA030 Kansas City MO
WQZMS40 PEA020 Denver co
WQZM541 PEA020 Denver co
WQ2M542 PEAO12 Detroit MI
WQZM543 =PEA012 Detroit MI
WQZM544_ PEA 393 Macon MO
WQZM54S_ PEA 367 Moberly MoO
WQZM546 PEA 098 Johnson City TN
WQZM547_ PEAOSS Huntsville AL
WOQOZM548 PEA 399 Lampasas TX
WOQOZM549_ =PEA 375 Deming NM
WQZM550 +PEA352 Gonzales TX
Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 45 of 64

   

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WQZM551 PEA358. _—sMarble Falls

TX
WOQZM552_ PEA 337 Mineral Wells ™
WQZM553  PEA314 Jacksonville TX
WQZM554_ PEA 313 Lockhart TX
WQZM555_ PEA 275 Corsicana TX
WQZM556 PEA 272 Brownwood T™
WQZM557 PEA221 _Laredo TX
WQZM558 PEA 201 Eagle Pass T™
WQZM559 PEA 160 Victoria T™
WOZMS560 PEA 126 Casa Grande AZ
’WQZM561 PEA 133 Nacogdoches TX
WQZMS562 PEA 152 Tyler ™
WQZM563 PEA 144 Paris T™
WQZM564 PEA096 Richmond KY
WQZMS6S PEAO21 Tampa FL
WQZM566 PEA0O21 Tampa FL
WQZM567_ PEA 110 Jackson TN
WQZM568 PEA 243 Paducah KY
WQZM569 PEA078 Greensboro NC
WQZM570 PEAO85 Charleston sc
WQZM571 PEA045 Raleigh NC
WQ2ZM572 PEA 093 Lafayette LA
WOQOZM573 ~PEA 111 Fayetteville AR
WQZMS74 PEA 086 Frankfort KY
WQZM575 PEA082 Baton Rouge LA
WQ2ZM576 PEA091 Colorado Springs co
WQZM577_ + PEAOSO Jackson Ms
WQZM578 PEA 397 Aliceville AL
WQZM579 PEA 397 Aliceville AL
WQZM580_ +PEA 108 Des Moines IA
WQZMS81 PEA 239 Kannapolis Nc
WQZM582 PEA049 Albany NY
WQZM583  PEA041 Syracuse NY
WQZM584 PEA271 Elmira NY
WQZM585_ PEA271 Elmira NY
WOQZM586 PEA094 Waco TX
WQZM587_ PEA 330 Olney IL
WQZM588 PEA 238 Florence SC
WQZM589 PEA 154 Myrtle Beach sc
WQZMS90_~PEA 389 McCook NE
Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 46 of 64

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-WQZMS591_ PEA171 Fort Smith AR

WQZMS92 PEA 062 Dayton OH
WQZM593 PEA 282 Galesburg Ik
WQZM594_ PEA 168 Peoria IL

, WQZM595_ PEA 198 Jonesboro AR
WQZMS596 PEA 216 Joplin MO
WQZMS97__ PEA 232 Topeka KS
WQZM598_ =~PEA 164 Montgomery AL
WQZM599__ PEA 245 West Plains Mo
WQZM600 PEA 299 Kirksville Mo
WQZM601 PEA 183 Columbia Mo
WQZM602 PEA 150 Rolla Mo
WQZM603 PEA 222 Morristown ™N
WQZM604 PEA 244 Manhattan KS
WQZM60S PEA079 Hattiesburg Ms
WQZM606 PEA099 Tupelo MSs
WQZM607_ PEA 415 American Samoa N/A
WQZM608 PEA 415 American Samoa N/A
WQZM609 PEA 312 Farmington NM
WOQZM610 PEA033 Virginia Beach VA

‘“WQZM611 PEA033 Virginia Beach VA

-’ WQZM612 PEA039 Oklahoma City OK

- WQZM613 PEA 039 Oklahoma City OK
WQZM614 PEA025 Cincinnati OH
WQZM615 PEA025 Cincinnati OH
WQZM616 PEA035 Austin TX
WQZM617_ PEA 035 Austin T™
WQ2ZM618 PEA014 Cleveland OH
WQZM619 PEA014 Cleveland OH
WQZM620 PEA 142 Merced CA

’ WQZM621 PEA 142 Merced CA
WQZM622 PEA 157 Yuma Az

/ WQ2M623 PEA 157 Yuma AZ
WQZM624 PEA088 Frederick MD
WQZM625 PEA08&8 Frederick MD
WQZM626 PEA028 San Antonio T™
WQZM627 PEA028 San Antonio TX
WQZM628 PEA 181 Texarkana TX
WQZM629 PEAOS50 Greenville sc
WQZM630 PEA043 Charlotte NC

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WQZM631 PEA007 Boston MA

WQZM632 PEA007 Boston MA
_WQZM633 PEA 325 Bismarck ND
WQZM634 PEA 388 Atlantic lA

WQZM635 PEA374 North Platte NE i
WQZM636_ PEA 295 Stillwater OK
WQZM637 PEA 306 Wichita Falls T™

’ WQZM638_ «=~PEA 231 Fremont NE
WQZM639 PEA 365 Vernon ™
WQZM640_ PEA 236 Grand Island NE

-WQZM641_ +PEA281 Muskogee OK
WQZM642_ PEA214 Lincoln NE
WQZM643 PEA278 Bartlesville OK
WQZM644 PEA114 Morgantown WV
WQZM645 PEA116 Rockford IL
WQZM646 PEAO80 Omaha NE
WQZM647_ PEA 057 Richmond VA
WQZM648 PEA 199 Dalton GA
WQZM649 PEA165 Rome GA
WQZM650 PEA 054 Buffalo NY
WQZM651_ PEA 200 Danville VA
WQZM652 PEA 240 Charlottesville VA
WQZM653 PEA 167 Harrisonburg VA
WQZM654_ PEA 349 Marion NC
WQZM655_ PEA 205 Douglas City CA
WQZM656 PEA 213 Bend OR
WQZM657_ PEA 364 Butte MT
WQZM658_ PEA 373 Walla Walla WA
WQZM659_ PEA 405 Jackson WY
WQZM660 PEA 190 Bozeman MT

‘WQZM661 PEA 369 Red Oak IA
WQZM662 PEA172 Duluth MN
WQZM663 PEA172 Duluth MN
WQZM664_ PEA 307 Yankton SD
WQZM665 PEA 106 Zanesville OH
WQZM666 PEA097 Mankato MN
WQZM667 PEA052 Charleston WV
WQZM668 PEA059 Memphis ™N
WQZM669 PEA 377 Demopolis AL
WQZM670 PEA 344 Clanton AL

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~WQZM671 PEA 300 Selma . AL

WQZM672 PEA311 Trinidad co
WQZM673 PEA 372 Colby KS
WQZM674 PEA 359 Sterling co
WQZM675_ PEA115 Asheville NC
WQZM676 PEA 360 Juneau AK
WQZM677 PEA 360 Juneau AK
WQZM678_ PEA 212 Anchorage AK
WQZM679_ PEA 212 Anchorage AK
WQZM680_ PEA 341 Alamogordo NM
WQZM681_ PEA 130 Spokane WA
WQZM682 PEA 087 Pensacola FL
WQZM683_ PEA 166 Redding CA
WQZM684_ PEA 124 Olympia WA
WQZM685 PEA 328 Winslow AZ
WQZM686 PEA 109 Rocky Mount NC
WQZM687 PEA 100 Greenville NC
WQZM688 PEA 103 Winchester VA
WQZM689 PEA 301 Rochester MN
WQZM690_ PEA 301 Rochester MN
: WQZM691 PEA 381 Del Rio ™
WQZM692 PEAO95 Bluefield WV
WQZM693 PEA 191 Petersburg VA
WQZM694_ PEA177 Savannah GA
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WQZM696 PEA024 Saint Louis MO
WQZM697_ PEA 184 Ruston LA
WQZM698_ PEA 246 Auburn AL
WQZM699_ PEA 192 Fayetteville Nc
WQZM700 PEA173 Blacksburg VA
WQZM701 PEA 202 Columbus GA
WQ2ZM702 PEA 249 Bryan T™
WQZM703_ PEA 356 Colville WA
WQZM704 PEA 229 Saint George UT
WQZM705 PEA257 Cheyenne WY
WQZM706 PEA 217 Lubbock T™
WQZM707 PEA 189 Alexandria LA
WQZM708 PEA 242 Lake Charles LA
WQZM709 PEA 235 Amarillo T™
WQZM710 PEA 220 Odessa TX

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WQZM712 PEA 135 Besumont T™
WQZM713 PEA317 _—t=rBeatrica NE
WQZM714 PEA 283 Plattsburgh NY
WQZM715_ PEA 227 Watertown NY
WQZM716 PEA 210 Binghamton NY
WQZM717 PEA 104 Fort Collins co

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800 MHz Economic Area License Holdings at end of Rebanding

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WPLM546 NEXTEL COMMUNICATIONS OF THE MID yc BEAOO1 8 Bangor, ME 6/17/2028 817 + 818 / B62 - 863
ATLANTIC, INC,

WPLMS47 NEXTEL COMMUNICATIONS OF THE MID YH BEAQOL = X Bangor, ME 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / B66 - B69
ATLANTIC, INC,

WPLMS549 NEXTEL COMMUNICATIONS OF THE MID YC BEAO02 B Portland, ME 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPLM550 NEXTEL COMMUNICATIONS OF THE MID YH BEA002 x Portland, ME 6/17/2028 818-821 / 863 - 866 / B21 - 824 / 866 - 869
ATLANTIC, INC.

WPLM552 NEXTEL COMMUNICATIONS OF THE MID YC BEA003 8 Boston-Worcester-Lawrence-Lowe 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPQT200 NEXTEL COMMUNICATIONS OF THE MID Yc BEA003 8 Boston-Worcester-Lawrence-Lowe 6/17/2028 817 - 818 / B62 - 863
ATLANTIC, INC,

WPLM553. NEXTEL COMMUNICATIONS OF THE MID YH BEAQO3 x Boston-Worcester-Lawrence-Lowe 6/17/2028 818-821 / 863 - 866 / 821 - 824 / 866 - 869
ATLANTIC, INC,

WPQT201 NEXTEL COMMUNICATIONS OF THE MID YH BEA003 x Boston-Worcester-Lawrence-Lowe 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
ATLANTIC, INC,

WPLM555 NEXTEL COMMUNICATIONS OF THE MID yc BEA004 8 Burlington, VT-NY 6/17/2028 817 - 818 / B62 - 863
ATLANTIC, INC,

WPLM556 NEXTEL COMMUNICATIONS OF THE MID YH BEA0O4 x Burlington, VT-NY 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
ATLANTIC, INC.

WPOI277. - NEXTEL COMMUNICATIONS OF THE MID Yc BEAGOS B Albany-Schenectady-Troy, NY 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPOI278 NEXTEL COMMUNICATIONS OF THE MID YH BEAOOS = X Albany-Schenectady-Troy, NY 6/17/2028 818 = 821 / 863 - 866 / B21 - 824 / 866 - 869
ATLANTIC, INC.

WPOI280 NEXTEL COMMUNICATIONS OF THE MID Yc BEACO6 ~=s«iB Syracuse, NY-PA 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPOI281 NEXTEL COMMUNICATIONS OF THE MID) YH BEAQOG x Syracuse, NY-PA 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / B66 - 869
ATLANTIC, INC.

WPLM564 NEXTEL COMMUNICATIONS OF THE MID Yc BEAGO7 B Rochester, NY-PA 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPLM565 NEXTEL COMMUNICATIONS OF THE MID YH BEAOO7 x Rochester, NY-PA 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - B69
ATLANTIC, INC,

WPLM567. NEXTEL COMMUNICATIONS OF THE MID yc BEAOOB B Bulfalo-Niagara Falls, NY-PA 6/17/2028 817-818 / 862 - 363
ATLANTIC, INC.

WPLM568 NEXTEL COMMUNICATIONS OF THE MID YH BEAOOB =X Buffalo-Niagara Falls, NY-PA 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - B69
ATLANTIC, INC. .

WPLM570 NEXTEL WEST CORP. yc BEAQOS 8 State College, PA 6/17/2028 817 - 818 / 862 - 863

WPLM571 NEXTEL WEST CORP. YH BEAGO9 Xx State College, PA 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - B69

WPLM573 = NEXTEL OF NEW YORK, INC. Yc BEA010 B New York-No, New Jer.-Long Isl 6/17/2028 817 - 818 / 862 - 863

WPOI316 =NEXTEL COMMUNICATIONS OF THE MID Yc BEAQ1O B New York-No. New Jer.-Long Isl 6/17/2028 817 - 818 / 862 - 863
ATLANTIC, INC.

WPQS997_ NEXTEL WEST CORP. yc BEAOQ10 B New York-No. New Jer.-Long Isl 6/17/2028 817 - 818 / B62 - 863
WPVPS95
WPLMS74
WPOI317
WPQSs938
WPLMS76
WPOI283
WPLMS77
WPOI284
WPLM579

WPOI319
WPLMS80

WPO|320
WPLM582

WPOI322

WPQT203

WPLM583

WPOI323

WPQT204

WPLM585

WQHV920

WPLM586

WPLM588

WPO1413

WQHX606

WOQHX885

WPLMS89

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WPLMS91

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NEXTEL WEST CORP.

NEXTEL OF NEW YORK, INC

NEXTEL COMMUNICATIONS OF THE MID
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NEXTEL WEST CORP.

NEXTEL WEST CORP.

NEXTEL WEST CORP.

NEXTEL WEST CORP.

NEXTEL COMMUNICATIONS OF THE MID
ATLANTIC, INC.

NEXTEL WEST CORP.

NEXTEL COMMUNICATIONS OF THE MID
ATLANTIC, INC.

NEXTEL WEST CORP.

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Washington-Baltimore, DC-MD-VA

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Washington-Baltimore, DC-MD-VA
Salisbury, MD-DE-VA

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WQHV922
WQHX597
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Greensboro-Winston-Salem-High
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Raleigh-Durham-Chapel Hill, NC
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Norfolk-Virginia Beach-Newport

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6/17/2028 817.6375 - 817.7375 / 862.6375 - 862.7375
6/17/2028 817.0125 - 817.4875 / 862.0125 - 862.4875
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Columbia, SC

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Wilmington, NC-SC
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Charleston-North Charleston, S
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Augusta-Aiken, GA-SC
Augusta-Aiken, GA-SC
Augusta-Aiken, GA-SC
Augusta-Aiken, GA-SC
Savannah, GA-SC

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Jacksonville, FL-GA
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Orlando, FL

Orlando, FL

Miami-Fort Lauderdale, FL
Mlami-Fort Lauderdale, FL
Fort Myers-Cape Coral, FL

Fort Myers-Cape Coral, FL
Sarasota-Bradenton, FL
Sarasota-Bradenton, FL
Tampa-St. Petersburg-Clearwate
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Tallahassee, FL-GA
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Greenville-Spartanburg-Anderso
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Asheville, NC
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Chattanooga, TN-GA
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Johnson City-Kingsport-Bristol
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Hickory-Morganton, NC-TN
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Lexington, KY-TN-VA-WV
Lexington, KY-TN-VA-WV
Lexington, KY-TN-VA-WV
Lexington, KY-TN-VA-WV
Charleston, WV-KY-OH
Charleston, WV-KY-OH
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WPLM718
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Erie, PA

Erie, PA
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Cleveland-Akron, OH-PA
Cleveland-Akron, OH-PA
Toledo, OH

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Detroit-Ann Arbor-Flint, Ml
Detroit-Ann Arbor-Flint, Ml
Northern Michigan, Ml
Northern Michigan, MI

Green Bay, WI-MI

Green Bay, WI-MI

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Green Bay, WI-MI
Appleton-Oshkosh-Neenah, WI
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Traverse City, MI

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Grand Rapids-Muskegon-Holland,
Grand Rapids-Muskegon-Holland,
Milwaukee-Racine, WI
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Chicago-Gary-Kenosha, IL-IN-WI
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Chicago-Gary-Kenosha, IL-IN-WI
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Fort Wayne, IN

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Paducah, KY-IL
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Huntsville, AL-TN
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Jackson, MS-AL-LA
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Pensacola, FL

Pensacola, FL
Biloxi-Gulfport-Pascagoula, MS
Biloxi-Gulfport-Pascagoula, MS
New Orleans, LA-MS

New Orleans, LA-MS

New Orleans, LA-MS

New Orleans, LA-MS

Baton Rouge, LA-MS

Baton Rouge, LA-MS
Lafayette, LA

Lafayette, LA

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Lafayette, LA

Lake Charles, LA

Lake Charles, LA
Beaumont-Port Arthur, TX
Beaumont-Port Arthur, TX
Shreveport-Bossier City, LA-AR
Shreveport-Bossler City, LA-AR
Monroe, LA

Monroe, LA

Little Rock-North Little Rock,
Little Rock-North Little Rock,
Fort Smith, AR-OK

Fort Smith, AR-OK
Fayetteville-Springdale-Rogers
Fayetteville-Springdale-Rogers
Fayetteville-Springdale-Rogers
Fayetteville-Springdale-Rogers
Joplin, MO-KS-OK

Joplin, MO-KS-OK

Springfield, MO

Springfield, MO

Jonesboro, AR-MO

Jonesboro, AR-MO

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St. Louis, MO-IL

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WAQPK770
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WQPK776
WOPKB821
WPOH240
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Columbia, MO

Columbla, MO

Kansas City, MO-KS

Kansas City, MO-KS

Des Moines, |A-IL-MO

Des Moines, IA-IL-MO

Des Moines, IA-IL-MO

Des Moines, |A-IL-MO

Des Moines, |A-IL-MO
Peoria-Pekin, IL

Peoria-Pekin, Ib
Davenport-Moline-Rock Island,
Davenport-Moline-Rock Island,
Davenport-Moline-Rock Island,
Cedar Rapids, IA

Cedar Rapids, IA

Madison, Wi-lA-IL

Madison, WI-IA-IL

Madison, WI-IA-IL

Madtson, WI-IA-IL

Madison, WI-IA-IL

Madlson, WI-IA-IL

La Crosse, WI-MN

La Crosse, WI-MN

Rochester, MN-IA-WI
Rochester, MN-IA-WI
Rochester, MN-lA-WI
Rochester, MN-IA-WI
Rochester, MN-lA-WI
Rochester, MN-IA-WI
Minneapolis-St. Paul, MN-WI-IA
Minneapolis-St. Paul, MN-WI-IA
Minneapolis-St. Paul, MN-WI-IA
Minneapolis-St. Paul, MN-WI-IA
Minneapolis-St, Paul, MN-WI-IA
Minneapolis-St, Paul, MN-WI-IA
Wausau, WI

Wausau, WI

Ouluth-Superlor, MN-WI
Duluth-Superior, MN-WI

Grand Forks, ND-MN

Grand Forks, ND-MN

Minot, ND

Minot, ND

Bismarck, ND-MT-SD

Bismarck, ND-MT-SD

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6/17/2028 817 - 818 / 862 - 863
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WPOH280
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Fargo-Moorhead, ND-MN
Fargo-Moorhead, ND-MN
Aberdeen, SD

Aberdeen, SD

Rapid City, SD-MT-NO-NE
Rapld City, SD-MT-ND-NE
Sloux Falls, SD-IA-MN-NE
Sioux Falls, SD-IA-MN-NE
Sloux City, IA-NE-SD
Sioux City, |A-NE-SD
Omaha, NE-IA-MO
Omaha, NE-IA-MO
Lincoln, NE

Lincoln, NE

Grand Island, NE

Grand Island, NE

North Platte, NE-CO
North Platte, NE-CO
North Platte, NE-CO
North Platte, NE-CO
Wichita, KS-OK

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Wichita, KS-OK

Topeka, KS

Topeka, KS

Tulsa, OK-KS

Tulsa, OK-KS

Oklahoma City, OK
Oklahoma City, OK
Western Oklahoma, OK
Western Oklahoma, OK
Dallas-Fort Worth, TX-AR-OK
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Abilene, TX

Abilene, TX

San Angelo, TX

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Austin-San Marcos, TX
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Houston-Galveston-Brazorla, TX
Houston-Galveston-Brazoria, TX
Houston-Galveston-Brazorla, TX
Houston-Galveston-Brazorla, TX
Corpus Christi, TX

Corpus Christi, TX

Corpus Christi, TX

Corpus Christi, TX
McAllen-EdInburg-Mission, TX
McAllen-Edinburg-Mission, TX
San Antonio, TX

San Antonio, TX

San Antonio, TX

San Antonio, TX
Odessa-Midland, TX
Odessa-Midland, TX

Hobbs, NM-TX

Hobbs, NM-TX

Hobbs, NM-TX

Hobbs, NM-TX

Lubbock, TX

Lubbock, TX

Amarillo, TX-NM

Amarillo, TX-NM

Amarillo, TX-NM

Amarillo, TX-NM

Santa Fe, NM

Santa Fe, NM

Pueblo, CO-NM

Pueblo, CO-NM
Denver-Boulder-Greeley, CO-KS-
Denver-Boulder-Greeley, CO-KS-
Denver-Boulder-Greeley, CO-KS-
Denver-Boulder-Greeley, CO-KS-
Scottsbluff, NE-WY

Scottsbluff, NE-WY

Casper, WY-ID-UT

Casper, WY-ID-UT

Billings, MT-WY

Billings, MT-WY

Great Falls, MT

Great Falls, MT

Missoula, MT

Missoula, MT

Spokane, WA-ID

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Salt Lake City-Ogden, UT-ID
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Farmington, NM-CO
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800 MHz SIte-based License Holdings next to Canadian Border area designed to use contours to preserve capability inside Canadian
Border area and preclude expansion from existing llcensees Inside and outside the Canadian Border area

Number of
Discreet
Radlo Frequencies
, Service Transmitter Above 862.0 Expiration
Call Sign Licensee Code Transmitter City Transmitter County State MHz Date
WAQXZ925 NEXTEL COMMUNICATIONS OF THE MID ATLANTIC, YM SOUTH PORTLAND CUMBERLAND ME 160 7/26/2026
INC.
WQXz929 NEXTEL WEST CORP. YM DRESDEN MUSKINGUM OH 160 7/26/2026
WAQxz930 NEXTEL WEST CORP. YM — UPPER ARLINGTON FRANKLIN OH 160 7/26/2026
WAQYF361 NEXTEL WEST CORP, YM — ORISKANY ONEIDA NY 160 9/8/2026
WQYG555  NEXTEL WEST CORP, YM KALAMA COWLITZ WA 160 9/21/2026
WQYG556 = NEXTEL WEST CORP. YM OUTLOOK YAKIMA WA 160 9/21/2026
WQYG557 NEXTEL WEST CORP, YM EPHRATA GRANT WA 160 9/21/2026
wayTt997 NEXTEL WEST CORP. YM —_LEONIDAS ST, JOSEPH MI 160 1/19/2027
WQYU236 NEXTEL WEST CORP. YM FOWLER CLINTON Mi 160 1/20/2027
WaQYV719 — NEXTEL WEST CORP. YM COTTON ST. LOUIS MN 160 2/6/2027
WQYV720 = NEXTEL WEST CORP. YM — HIBBING ST. LOUIS MN 160 2/6/2027
WQYV722 NEXTEL WEST CORP. YM BEMIDJI BELTRAMI MN 160 2/6/2027
WQ2ZS657 NEXTEL WEST CORP. YM — CAMPBELL STEUBEN NY 160 7/24/2027
waQzs659 NEXTEL WEST CORP. YM = SPENCERVILLE ALLEN IN 160 7/24/2027
WQ2zS660 NEXTEL WEST CORP. YM JACKSON CENTER SHELBY OH 160 7/24/2027
wazS661 NEXTEL WEST CORP. YM — EAST PALESTINE COLUMBIANA OH 160 7/24/2027
WQ2ZS662 NEXTEL WEST CORP. YM — UHRICHSVILLE TUSCARAWAS OH 160 7/24/2027
WRAA475 NEXTEL WEST CORP. YM CONVOY VAN WERT OH 160 9/22/2027
WRAN278 — NEXTEL WEST CORP. YM TRAVERSE CITY GRAND TRAVERSE MI 160 1/11/2028
WRBR754 NEXTEL WEST CORP. YM HOOD RIVER HOOD RIVER OR 160 5/31/2028
WRBVB27 NEXTEL WEST CORP. YM — HIGGINGS LAKE ROSCOMMON Ml 160 7/3/2028
WRBV828 NEXTEL WEST CORP. YM _— GREAT FALLS CASCADE MT 160 7/3/2028
WRBVB29 NEXTEL WEST CORP. YM DEER PARK SPOKANE WA 160 7/3/2028
WRBV830 NEXTEL WEST CORP. YM — MT. PLEASANT ISABELLA MI 160 7/3/2028
WRBV831 NEXTEL WEST CORP. YM COLEMAN MIDLAND MI 160 7/3/2028
WRBV855 NEXTEL WEST CORP, YM CORTLAND CORTLAND NY 160 7/3/2028
WRBV857 NEXTEL WEST CORP. YM HOOD RIVER HOOD RIVER OR 160 7/3/2028
WRBV861 NEXTEL COMMUNICATIONS OF THE MID ATLANTIC, YM SOUTH ROYALTON WINDSOR VT 160 7/3/2028
INC.

WRBV862 NEXTEL WEST CORP. YM —GLOVERSVILLE FULTON NY 160 7/3/2028
WRBV864 NEXTEL WEST CORP. YM RIDGEWAY ELK PA 160 7/3/2028
WRBV870 NEXTEL WEST CORP YM RIDGEWAY ELK PA 160 7/3/2028
WRBV873 NEXTEL COMMUNICATIONS OF THE MID ATLANTIC, YM BIDDEFORD YORK ME 160 7/3/2028

INC.
Case 1:19-cv-02232-TJK Document 85 Filed 04/01/20 Page 64 of 64

WRBV875 NEXTEL WEST CORP. YM NEW HAVEN ADDISON VT 160 7/3/2028
WREV875 NEXTEL WEST CORP. YM  SCHROON LAKE ESSEX NY 160 7/3/2028
WRBX774 NEXTEL WEST CORP. YM ATHOL BONNER ID 160 7/19/2028
WRBXB833 NEXTEL COMMUNICATIONS OF THE MID ATLANTIC, YM ELLSWORTH HANCOCK ME 155 7/19/2028
INC.
WRCA7BS NEXTEL WEST CORP, YM HARRISON TOWNSHIP LICKING OH 160 8/13/2028
WRCA793 NEXTEL WEST CORP, YM  MALVERN CARROLL OH 160 8/13/2028
WRCAT94 NEXTEL COMMUNICATIONS OF THE MID ATLANTIC, YM — CLINTONVILLE VENANGO PA 160 8/13/2028
INC.

WRCL3S4 NEXTEL WEST CORP. YM LAKE ODESSA BARRY Mi 160 10/30/2028
